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Information to identify the case:

Debtor 1:
                      Olga Lidia Angulo Ponce                                  Social Security number or ITIN:   xxx−xx−0157
                                                                               EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                      Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                            EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Southern District of Florida             Date case filed for chapter:       7     4/27/24

           24−14131−CLC
Case number:

Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline
For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. This notice has important
information about the case for creditors, debtors, and trustees, including information about the meeting of creditors
and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay. The debtors are seeking a discharge. Creditors who assert that
the debtors are not entitled to a discharge of any debts or who want to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadlines specified in this notice. (See box 9)

You may want to consult an attorney to protect your rights. The bankruptcy clerk's office staff cannot give legal advice.
To help creditors correctly identify debtors, debtors must submit full Social Security or Individual Taxpayer
Identification Numbers, which may appear on a version of this notice. However, the full numbers must not appear on
any document filed with the court. Do not file this notice with any proof of claim or other filing in the case. Do not
include more than the last four digits of a Social Security or Individual Taxpayer Identification Number in any
document, including attachments, that you file with the court.

WARNING TO DEBTOR: WITHOUT FURTHER NOTICE OR HEARING THE COURT MAY DISMISS YOUR CASE FOR FAILURE TO TIMELY PAY
FILING FEE INSTALLMENTS, FAILURE TO APPEAR AT THE MEETING OF CREDITORS OR FAILURE TO TIMELY FILE REQUIRED SCHEDULES,
STATEMENTS OR LISTS, AND FOR FAILURE TO FILE PRE−BANKRUPTCY CERTIFICATION OF CREDIT COUNSELING OR FILE WAGE
DOCUMENTATION.

                                             About Debtor 1:                                 About Debtor 2:
1. Debtor's Full Name                        Olga Lidia Angulo Ponce
2. All Other Names Used
   in the Last 8 Years
3. Address                                   301 Hialeah DR APT 211
                                             Hialeah, FL 33010
4. Debtor's Attorney                         Jose A Blanco                                   Contact Phone (305) 349−3463
     (or Pro Se Debtor)                      Jose A. Blanco, P.A.
                                             102 E 49th ST
     Name and Address                        Hialeah, FL 33013
5. Bankruptcy Trustee                        Scott N Brown                                   Contact Phone 305−379−7904
   Name and Address                          Scott N. Brown, Trustee
                                             1 S.E. 3rd Avenue − #2410
                                             Miami, FL 33131
6.     Bankruptcy Clerk's Divisional US Bankruptcy Court                                                Hours open 8:30 a.m. − 4:00 p.m.
       Office Where Assigned Judge 301 North Miami Avenue, Room 150                                     Contact Phone (305) 714−1800
       is Chambered                  Miami, FL 33128
     Documents filed conventionally in paper may be filed at any bankruptcy clerk's                Note: Contact the Clerk's Office at the
     office location. Documents may be viewed in electronic format via CM/ECF at any               number listed above or check the
     clerk's office public terminal (at no charge for viewing) or via PACER on the                 court's website for reduced hours of
     internet accessible at pacer.uscourts.gov (charges will apply). Case filing and               operation for in−person filings.
     unexpired deadline dates can be obtained by calling the Voice Case Information
     System toll−free at (866) 222−8029. As mandated by the Department of
     Homeland Security, ALL visitors (except minors accompanied by an adult) to any                Clerk of Court: Joseph Falzone
     federal building or courthouse, must present a current, valid, government issued              Dated: 4/29/24
     photo identification (e.g. drivers' license, state identification card, passport, or
     immigration card.)
                                                                                                                                         page
Local Form 309A USBC SDFL (Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case − No Proof of Claim Deadline (09/01/2023)
                                                                                                                                            1
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Debtor Olga Lidia Angulo Ponce                                                                                              Case number 24−14131−CLC

7.      ** MEETING OF CREDITORS ** May 28, 2024 at 04:30 PM                                                    *MEETING WILL BE HELD BY VIDEO
                                                                                                                       CONFERENCE*
     Debtors must attend the meeting to be            The meeting may be continued or adjourned
     questioned under oath. In a joint case, both     to a later date. If so, the date will be on the Go to www.Zoom.us, click on JOIN or
     spouses must be present with required
     original government−issued photo                 court docket.                                   call (786) 730−4412, Enter Meeting ID
     identification and proof of social security                                                      762 694 7699, and Passcode
     number (or if applicable, Tax ID). Creditors                                                     7746328818
     may attend, but are not required to do so.
                                                                                                       For additional meeting information
                                                                                                      visit: www.justice.gov/ust/moc

8. Presumption of Abuse                               The presumption of abuse does not arise.

     If the presumption of abuse arises, you may
     have the right to file a motion to dismiss the
     case under 11 U.S.C. § 707(b). Debtors
     may rebut the presumption by showing
     special circumstances.


9. Deadlines                                          File by the deadline to object to         Filing Deadline: 7/29/24
                                                      discharge or to challenge whether certain
     The bankruptcy clerk's office must receive       debts are dischargeable:
     these documents and any required filing fee
     by the following deadlines. Writing a letter to
     the court or judge is not sufficient.           You must file a complaint:
                                                       if you assert that the debtor is not entitled to
                                                       receive a discharge of any debts under any of the
     A discharge of debtor will not be issued until    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
     the Official Bankruptcy Form "Certification       or
     About a Financial Management Course" is
     filed by the debtor (unless the course            if you want to have a debt excepted from discharge
     provider filed a certificate of completion of     under 11 U.S.C § 523(a)(2), (4) or (6).
     the financial management course on behalf
     of the debtor).
                                                     You must file a motion if you assert that
                                                       the discharge should be denied under § 727(a)(8)
                                                       or (9).


                                                      Deadline to object to exemptions:                       Filing Deadline: 30 days after the conclusion
                                                      The law permits debtors to keep certain property as     of the meeting of creditors, or within 30 days of
                                                      exempt. Fully exempt property will not be sold and      any amendment to the list of supplemental
                                                      distributed to creditors. Debtors must file a list of   schedules, unless as otherwise provided under
                                                      property claimed as exempt. If you believe that the     Bankruptcy Rule 1019(2)(B) and Local Rule
                                                      law does not authorize an exemption that the debtors    4003−1(B) for converted cases.
                                                      claim, you may file an objection. The bankruptcy
                                                      clerk's office must receive the objection by the
                                                      deadline to object to exemptions.


10. Abandonment of Property by                        Pursuant to Local Rule 6007−1(A), the trustee will abandon at the meeting of creditors
    Trustee, Deadline to Object to                    all property that the trustee has determined is of no value to the estate and file a report
    Trustee's Report                                  within two business days. Objections to the report must be filed within 14 days of the
                                                      meeting.

11. Proof of Claim                                    No property appears to be available to pay creditors. Therefore, please do not file a
                                                      proof of claim now. If it later appears that assets are available to pay creditors, the clerk
                                                      will send you another notice telling you that you may file a proof of claim and stating the
                                                      deadline. If this case is converted from chapter 13, under Local Rules 1019−1(E) and
                                                      3002−1(A) it has been designated as a no asset case at this time.

12. Creditors with a Foreign                          Consult an attorney familiar with United States bankruptcy law if you have any
    Address                                           questions about your rights in this case.

13. Option to Receive Notices                         1) EBN program open to all parties. Register at the BNC website
    Served by the Clerk by Email                      bankruptcynotices.uscourts.gov, OR 2) DeBN program open to debtors only. Register
    Instead of by U.S. Mail                           by filing with the Clerk of Court, Local Form "Debtor's Request to Receive Notices
                                                      Electronically Under DeBN Program". There is no charge for either option. See also
                                                      Local Rule 9036−1(B) and (C).

14. Translating Services                              Language interpretation of the meeting of creditors will be provided to the debtor at no
                                                      cost, upon request to the trustee, through a telephone interpreter service. Persons with
                                                      communications disabilities should contact the U.S. Trustee's office to arrange for
                                                      translating services at the meeting of creditors.
Local Form 309A USBC SDFL (Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case − No Proof of Claim Deadline                                  page 2
